         Case 2:22-cv-00790-RAJ-MLP Document 20 Filed 08/01/22 Page 1 of 5




 1                                               THE HONORABLE MICHELLE L. PETERSON
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     1020 N. Washington St.
 4   Spokane, WA 99201
     Telephone:   509-327-2224
 5   Email:       bobmitchellaw@gmail.com
 6   Attorney for Plaintiff, Melissa Newton
 7

 8
                               UNITED STATES DISTRICT COURT
 9
                            WESTERN DISTRICT OF WASHINGTON
10                                            AT SEATTLE
11
        MELISSA NEWTON,                                NO. 2:22−cv−00790−RAJ−MLP
12
                           Plaintiff,
13                 v.                                  STIPULATION AND ORDER OF
                                                       DISMISSAL WITH PREJUDICE OF
14                                                     DEFENDANT TRANS UNION
15      J.P. MORGAN CHASE & CO., a Foreign
        Corporation, EXPERIAN INFORMATION
16      SOLUTIONS, INC., an Ohio Corporation,
        TRANS UNION LLC, a Delaware Limited
17      Liability Company,
18                         Defendants.
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                                                       Robert Mitchell, Attorney at Law, PLLC
      MOTION TO DISMISS TRANSUNION                 1
26                                                          1020 N. Washington St. | Spokane, WA 99201
      2:22−cv−00790−RAJ−MLP                                     Ph (509) 327-2224 | Fax (888) 840-6003
                                                                      bobmitchellaw@gmail.com
          Case 2:22-cv-00790-RAJ-MLP Document 20 Filed 08/01/22 Page 2 of 5




 1                                    STIPULATED DISMISSAL
 2          Plaintiff, MELISSA NEWTON, being represented by her counsel, Attorney Robert
 3
     Mitchell, and Defendant, TRANS UNION LLC, being represented by its attorney, Warren F.
 4
     Cangany, hereby jointly move to dismiss TRANS UNION LLC from this action with prejudice
 5
     and without an award of costs or fees to either party.
 6

 7

 8   Presented by:

 9   S//Robert W. Mitchell                                 Dated August 1, 2022
     Robert W. Mitchell (WSBA # 37444)
10
     Attorney at Law, PLLC
11   1020 N. Washington
     Spokane, WA 99201
12

13   Notice of Presentment Waived by:
14
     s// Warren F. Cangany                           Dated August 1, 2022
15   Warren F. Cangany, Esq. (Admitted Pro Hac Vice)
     Schuckit &amp; Associates, P.C.
16   4545 Northwestern Drive
     Zionsville, IN 46077
17   Telephone: (317) 363-2400
     Facsimile: (317) 363-2257
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     E-Mail: wcangany@schuckitlaw.com
19   Lead Counsel for Defendant Trans Union, LLC

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          Case 2:22-cv-00790-RAJ-MLP Document 20 Filed 08/01/22 Page 3 of 5




 1                                               ORDER
 2          THIS COURT having reviewed the parties’ motion and finding good cause shown,
 3
            HEREBY ORDERS that TRANS UNION, LLC, shall be dismissed from this action with
 4
     prejudice and without an award of costs or fees to either party.
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 7                  Dated this       day of August, 2022.

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                                 THE HONORABLE MICHELLE L. PETERSON
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          Case 2:22-cv-00790-RAJ-MLP Document 20 Filed 08/01/22 Page 4 of 5




 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify under penalty of perjury under the laws of the State of Washington that
 3
     on the 1st day of August, 2022, I electronically filed the foregoing with the Clerk of Court using
 4
     the CM/ECF system which will send notification of such filing to the following:
 5
                    A. For Defendant, JP Morgan Chase:
 6

 7                      John S. Devlin III WSBA No. 23988
                        Katie Bass WSBA No. 51369
 8                      Lane Powell PC
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 9                      P.O. Box 91302
                        Seattle, WA 98111-9402
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                        Phone: (206) 223-7000
11                      Email: devlinj@lanepowell.com
                        Email: bassk@lanepowell.com
12
                    B. For Defendant, Experian
13
                        Sara J. Wadsworth , WSBA No. 55952
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                    C. For Defendant, Trans Union
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                        E-Mail: wcangany@schuckitlaw.com
23                      Lead Counsel for Defendant Trans Union, LLC

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 1                     Benjamin I. VandenBerghe, Esq., WSBA #35477
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 5                     Fax: 206-625-9534
                       E-Mail: biv@montgomerypurdue.com
 6                     creed@montgomerypurdue.com
 7                     Local Counsel for Defendant Trans Union, LLC

 8   Dated this 1st day of August, 2022, at Memphis, Tennessee.

 9
                                         S//Robert Mitchell
10
                                         ROBERT MITCHELL (WSBA No. 37444)
11                                       ROBERT MITCHELL ATTORNEY AT LAW, PLLC
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